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Residents First
Account Balance - Merrill


              Beginning     Deposit /
   Date        Balance      Transfer      Disbursement     Ending Balance                     Description

  02/01/24         609.35                                         609.35
  02/05/24         609.35                       1,074.18         -464.83      401K Withdrawal
  02/05/24        -464.83        492.25                            27.42      Transfer from Keego Harbor
  02/09/24          27.42        501.00                           528.42      Transfer from Keego Harbor
  02/09/24         528.42                         501.00           27.42      Workmans' Comp. Insurance
  02/09/24          27.42                          27.42            0.00      Transfer to Citizens State Bank
  02/12/24           0.00        108.03                           108.03      Transfer from Crystal Downs
  02/12/24         108.03                         108.03            0.00      ADP Fees
  02/15/24           0.00        235.00                           235.00      Transfer from Crystal Downs
  02/16/24         235.00                         235.00            0.00      Check to City of Birmingham



                               1,336.28         1,945.63




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Residents First
Account Balance - Citizens State


              Beginning     Deposit /
   Date        Balance      Transfer       Disbursement    Ending Balance                                      Description

  02/01/24         100.00                                         100.00
  02/13/24         100.00    40,000.00                         40,100.00    Deposit from Kingsbrook for Payroll (Kingsbrook, Tallmadge, Twin Pines)
  02/14/24      40,100.00                       1,825.89       38,274.11    Payroll Garnishment
  02/14/24      38,274.11                       7,991.71       30,282.40    Payroll Taxes
  02/14/24      30,282.40                      28,630.22        1,652.18    Payroll
  02/16/24       1,652.18      1,005.09                         2,657.27    Transfer from Twin Pines
  02/16/24       2,657.27                          17.90        2,639.37    ADP Fees
  02/16/24       2,639.37                         233.79        2,405.58    Payroll Taxes
  02/16/24       2,405.58                         771.30        1,634.28    Payroll
  02/20/24       1,634.28                         820.82          813.46    401K Withdrawal
  02/21/24         813.46        524.76                         1,338.22    Transfer from Twin Pines
  02/21/24       1,338.22        757.99                         2,096.21    Transfer from Crystal Downs
  02/21/24       2,096.21        794.43                         2,890.64    Transfer from Tallmadge Meadows
  02/21/24       2,890.64        927.47                         3,818.11    Transfer from Keego Harbor
  02/21/24       3,818.11      1,505.89                         5,324.00    Transfer from Kristana Estates
  02/21/24       5,324.00      3,532.37                         8,856.37    Transfer from Kingsbrook Estates
  02/23/24       8,856.37                          62.95        8,793.42    ADP Fees
  02/23/24       8,793.42                         194.47        8,598.95    ADP Fees
  02/26/24       8,598.95                       8,042.91          556.04    Blue Cross Blue Shield
  02/28/24         556.04    40,247.86                         40,803.90    Deposits from Communities (Payroll)
  02/28/24      40,803.90                       1,825.89       38,978.01    Payroll Garnishment
  02/28/24      38,978.01                       8,704.18       30,273.83    Payroll Taxes
  02/28/24      30,273.83                      28,757.11        1,516.72    Payroll
  02/29/24       1,516.72         27.42                         1,544.14    Deposit from Close of Merrill Lynch



                             89,323.28         87,879.14




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                                                                                                     Statement Ending 02/29/2024
                                                                                                                                                              Page 1 of 4
     501 River St
     Ontonagon, MI 49953

     RETURN SERVICE REQUESTED                                                                        Managing Your Accounts
                                                                                                              Bank Name               Royal Oak
                                                                                                                                      32500 Woodward Ave
     RESIDENTS FIRST LLC                                                                                      Mailing Address
                                                                                                                                      Royal Oak, MI 48073
     DEBTOR IN POSSESSION -GENERAL ACCOUNT
     23-49817-MAR                                                                                             Phone Number            248-833-6160
     217 PIERCE ST STE 209
     BIRMINGHAM MI 48009-6048                                                                                 Online Access           www.micsb.com




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                                                                                                                                              5%
                                                                                                                                          Annual Percentage
                                                                                                                                               Yield*
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          Yield IRA Account, offering an impressive
          5% interest rate! It's time to supercharge
          your retirement savings and watch your
          money grow.

  * Rates effective as of 1/8/2024. Rates are subject to change at any time without prior notice. Interest is calculated using the average daily balance method and
  compounds monthly. Citizens State Bank does not provide tax or legal advice. Please consult with your tax and legal advisors regarding your speciﬁc situation.



 Summary of Accounts
 Account Type                                                                                    Account Number                                        Ending Balance
 Basic Business Checking                                                                                XXX0300                                             $1,544.14


Basic Business Checking-XXX0300
Account Summary
Date               Description                                                    Amount            Description                                                       Amount
02/01/2024         Beginning Balance                                               $100.00          Minimum Balance                                                   $100.00
                   10 Credit(s) This Period                                     $89,323.28
                   13 Debit(s) This Period                                      $87,879.14
02/29/2024         Ending Balance                                                $1,544.14

Account Activity
Post Date          Description                                                                                Debits                   Credits                        Balance
02/01/2024         Beginning Balance                                                                                                                               $100.00
02/13/2024         Deposit                                                                                                         $40,000.00                   $40,100.00
02/14/2024         ACH Payment ADP WAGE GARN WAGE GARN                                                    $1,825.89                                             $38,274.11




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Basic Business Checking-XXX0300 (continued)
Account Activity (continued)
Post Date     Description                                                    Debits             Credits          Balance
02/14/2024    ACH Payment ADP Tax ADP Tax                                 $7,991.71                            $30,282.40
02/14/2024    ACH Payment ADP WAGE PAY WAGE PAY                          $28,630.22                             $1,652.18
02/16/2024    Remote Deposit                                                                $1,005.09           $2,657.27
02/16/2024    ACH Payment ADP PAYROLL FEES ADP FEES                          $17.90                             $2,639.37
02/16/2024    ACH Payment ADP Tax ADP Tax                                   $233.79                             $2,405.58
02/16/2024    ACH Payment ADP WAGE PAY WAGE PAY                             $771.30                             $1,634.28
02/20/2024    ACH Payment ADP 401k ADP 401k                                 $820.82                               $813.46
02/21/2024    Remote Deposit                                                                 $524.76            $1,338.22
02/21/2024    Remote Deposit                                                                 $757.99            $2,096.21
02/21/2024    Remote Deposit                                                                 $794.43            $2,890.64
02/21/2024    Remote Deposit                                                                 $927.47            $3,818.11
02/21/2024    Remote Deposit                                                                $1,505.89           $5,324.00
02/21/2024    Remote Deposit                                                                $3,532.37           $8,856.37
02/23/2024    ACH Payment ADP PAYROLL FEES ADP FEES                          $62.95                             $8,793.42
02/23/2024    ACH Payment ADP PAYROLL FEES ADP FEES                         $194.47                             $8,598.95
02/26/2024    ACH Payment BCBS Michigan PREMIUM                           $8,042.91                               $556.04
02/28/2024    Deposit                                                                      $40,247.86          $40,803.90
02/28/2024    ACH Payment ADP WAGE GARN WAGE GARN                         $1,825.89                            $38,978.01
02/28/2024    ACH Payment ADP Tax ADP Tax                                 $8,704.18                            $30,273.83
02/28/2024    ACH Payment ADP WAGE PAY WAGE PAY                          $28,757.11                             $1,516.72
02/29/2024    Remote Deposit                                                                    $27.42          $1,544.14
02/29/2024    Ending Balance                                                                                    $1,544.14

Overdraft and Returned Item Fees
                                       Total for this period         Total year-to-date          Previous year-to-date
   Total Overdraft Fees                               $0.00                        $0.00                         $0.00

   Total Returned Item Fees                           $0.00                        $0.00                         $0.00




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